

Matter of Piper S. (2018 NY Slip Op 01927)





Matter of Piper S.


2018 NY Slip Op 01927


Decided on March 21, 2018


Appellate Division, Second Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on March 21, 2018
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Second Judicial Department

LEONARD B. AUSTIN, J.P.
SHERI S. ROMAN
SANDRA L. SGROI
FRANCESCA E. CONNOLLY, JJ.


2016-03108
 (Docket Nos. N-16227-15, N-16229-15)

[*1]In the Matter of Piper S. (Anonymous).
vWestchester County Department of Social Services, respondent,
Victoria S. (Anonymous), et al., appellants.


William Martin, White Plains, NY, for appellant Victoria S.
Stephen Kolnik, Yonkers, NY, for appellant Santiago S., and appellant Santiago S. pro se.
John M. Nonna, County Attorney, White Plains, NY (James Castro-Blanco and Linda M. Trentacoste of counsel), for respondent.
Jo-Ann Cambareri, White Plains, NY, attorney for the child.



DECISION &amp; ORDER
Appeals from an order of the Family Court, Westchester County (Arlene E. Katz, J.), dated April 1, 2016. The order granted the petitioner's application pursuant to Family Court Act § 1027 to temporarily remove the subject child from the parents' custody and place the child in the custody of the paternal grandmother pending the outcome of the neglect proceeding. Assigned counsel for the father has submitted a brief in accordance with Anders v California (386 US 738), in which he moves for leave to withdraw as counsel for the father.
ORDERED that the appeals are dismissed as academic, without costs or disbursements; and it is further,
ORDERED that counsel's application to be relieved of the assignment to prosecute the appeal by the father is denied as academic.
The order dated April 1, 2016, which granted the petitioner's application pursuant to Family Court Act § 1027 to temporarily remove the subject child from the parents' custody and place the child in the custody of the paternal grandmother, has been superseded by a subsequent order of fact-finding and disposition entered September 1, 2017. Accordingly, the appeals by the mother and the father from the order dated April 1, 2016, must be dismissed as academic (see Matter of Bruce P., 138 AD3d 864, 864; Matter of Julian S. [Patricia L.], 121 AD3d 796, 797-798; Matter of Anthony C. [Juan C.], 99 AD3d 798, 799; Matter of Araynnah B. [Moshammett R.], 71 AD3d 881, 881).
We therefore deny, as academic, the application of the father's counsel to be relieved of the assignment to prosecute the father's appeal from the order dated April 1, 2016 (see Matter of [*2]Kaci C. [John C.], 136 AD3d 674, 674-675; Matter of McMillian v Rizzo, 65 AD3d 689, 689).
AUSTIN, J.P., ROMAN, SGROI and CONNOLLY, JJ., concur.
ENTER:
Aprilanne Agostino
Clerk of the Court








